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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     RYAN SCOTT KERN
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:07-MJ-0049 EFB
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
13        v.                         )     CONTINUING PRELIMINARY HEARING
                                     )
14   RYAN SCOTT KERN, et al.,        )
                                     )     Date:  December 17, 2008
15                  Defendants.      )     Time:  2:00 p.m.
                                     )     Judge: Edmund F. Brennan
16   _______________________________ )
17
18        The parties (defendants Ryan Kern and Rahman Shadebadi and plaintiff,
19   United States of America) hereby stipulate through their              respective
20   attorneys to continue the preliminary hearing scheduled for December 17 to
21   January 14, 2009, at 2:00 p.m.
22        Counsel for the United States has agreed to provide discovery to the
23   defendants, who both have expressed interest in reaching a pre-indictment
24   resolution of the pending charges. Resolution of the case has been delayed
25   for reasons described in previous stipulations, but the parties remain
26   involved in negotiations.
27        The parties further agree that the above reasons constitute good cause
28   to extend the time for preliminary hearing under Federal Rule of Criminal
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1    Procedure 5.1, and that time within which the indictment must be filed
2    should be extended to January 14, 2009, pursuant to the Speedy Trial Act,
3    18 U.S.C. § 3161(h)(8)(A) and (B)(iv), for the reasons stated above.
4                                              Respectfully submitted,
5                                              DANIEL BRODERICK
                                               Federal Defender
6
7    Dated:    December 15, 2008               /s/ T. Zindel
                                               TIMOTHY ZINDEL
8                                              Assistant Federal Defender
                                               Attorney for RYAN SCOTT KERN
9
10   Dated:    December 15, 2008               /s/ T. Zindel for P. Kmeto
                                               PETER KMETO
11                                             Attorney at Law
                                               Attorney for RAHMAN SHADEBADI
12
                                               McGREGOR SCOTT
13                                             United States Attorney
14   Dated:    December 15, 2008               /s/ T. Zindel for W. Wong
                                               WILLIAM S. WONG
15                                             Assistant U.S. Attorney
16
17                                        O R D E R
18         The preliminary hearing is continued to January 14, 2009, at 2:00
19   p.m., the Court finding good cause, and time is excluded as set forth
20   above and for the reasons set forth above.
21         IT IS SO ORDERED.
22   DATED:    December 16, 2008.
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     Stip. & O. Continuing Prelim.            -2-
